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                        IN THE UNITED STATES DISTRICT COURT

                              FOR THE DISTRICT OF OREGON



 OREGON INTERNATIONAL AIR                                          Case No. 3:21-cv-01480-SB
 FREIGHT CO., an Oregon corporation; OIA
 GLOBAL LOGISTICS-SCM, INC., an                              ORDER ON NON-PARTY
 Oregon Corporation,                                 MASTERPIECE INTERNATIONAL’S
                                                        RENEWED MOTION TO QUASH
                       Plaintiffs,

                v.

 HEIDI BASSANO; MARIE BOVEY;
 LLOYD BURKE; OLIVER BURKE;
 CHRISTOPHE ESAYIAN; KIMBERLY
 KOMACKI; MICHAEL LEHNERT; RAUL
 LUCENA; MIKE RIZZO; TODD
 SWEENEY; WILLIAM YANKOW; and
 DOES 1-20,

                       Defendants.


BECKERMAN, U.S. Magistrate Judge.

       Plaintiffs Oregon International Air Freight Co. and OIA Global Logistics-SCM, Inc.

(together, “OIA”) filed a complaint against several former employees alleging misappropriation

of OIA’s confidential information and asserting several causes of action. The Court has

jurisdiction over this matter pursuant to 28 U.S.C. § 1331 and 28 U.S.C. § 1367.



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       OIA served a subpoena on non-party Masterpiece International, Ltd. (“Masterpiece”),

and Masterpiece moved to quash the subpoena in its entirety. (ECF No. 103.) The Court denied

the motion to quash, with leave for Masterpiece to object to any individual requests in the

subpoena by using the Court’s informal discovery dispute resolution procedure. (ECF No. 107.)

       OIA and Masterpiece conferred regarding disputes about several individual requests in

the subpoena, and submitted their respective positions to the Court. Having considered the

formal briefing and informal submissions, as well as oral argument, the Court grants in part, and

denies in part, Masterpiece’s renewed motion to quash.

                                        BACKGROUND

       OIA is a third-party logistics operator with its headquarters in Oregon. OIA alleges that

in late 2020, Masterpiece began to hire several employees away from OIA, and that at least

eleven departing employees took confidential company information with them to Masterpiece.

                                         DISCUSSION

I.     LEGAL STANDARDS

       Federal Rule of Civil Procedure 45 governs discovery of nonparties by subpoena. The

scope of discovery under Rule 45 is the same as under Rule 26(b). FED. R. CIV. P. 45 advisory

committee’s note to 1970 amendment. A non-party subject to a subpoena may file a motion to

quash or modify the subpoena. See FED. R. CIV. P. 45(d)(3).

       Generally, the party moving to quash under Rule 45(d)(3) bears the burden of persuasion,

but “[t]he party issuing the subpoena must demonstrate that the information sought is relevant

and material to the allegations and claims at issue in the proceedings.” Optimize Tech. Solutions,

LLC v. Staples, Inc., No. 14-MC-80095, 2014 WL 1477651, at *2 (N.D. Cal. Apr. 14, 2014)

(citation omitted).

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II.    ANALYSIS

       The Court appreciates the extensive conferral efforts of OIA and Masterpiece to resolve

or narrow many of their disputes. The Court addresses the remaining disputes herein.

       A.      Definition of “Former OIA Employees”

       OIA and Masterpiece dispute whether OIA may obtain discovery from Masterpiece

relating only to the former OIA employees named in the complaint (i.e., former employees

whom OIA has reason to believe misappropriated confidential information), or whether OIA

may also obtain discovery relating to other former OIA employees with connections to

Masterpiece whom OIA does not yet have a sufficient factual basis to name as defendants.

       Unless OIA has a factual basis to believe that a specific former employee

misappropriated confidential information or that a competitor encouraged the misappropriation,

far-reaching non-party discovery is an inappropriate mechanism to investigate possible claims

against additional former employees or a competitor. 1 See, e.g., Gopher Media, LLC v. Spain,

No. 3:19-cv-02280-CAB-KSC, 2020 WL 6741675, at *3 (S.D. Cal. Nov. 17, 2020) (denying the

plaintiff’s motion to compel non-party competitors to produce detailed information and

communications about the plaintiff’s other former employees working for the non-party

competitor because the requested discovery was “not remotely relevant to the claims and

defenses herein” and the plaintiff “is not entitled to conduct such a sweeping examination of the

nonparties’ files and witnesses”); see also Medtronic MiniMed, Inc. v. Animas Corp., No. C 13-



       1  Specifically, if Employee A left OIA with confidential information, that does not make
it more likely that Employee B who left OIA also took confidential information, absent
allegations of a conspiracy or coordination, which OIA has not alleged in its complaint. (See
Compl. ¶ 4, acknowledging that OIA is not alleging that Masterpiece encouraged OIA
employees to bring OIA’s confidential information with them to Masterpiece, but reserving the
right to name Masterpiece as a defendant if OIA discovers a pattern of such encouragement.)

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80294 WHA, 2014 WL 308952, at *3 (N.D. Cal. Jan. 27, 2014) (“Plaintiffs cannot bootstrap

discovery for some unrelated potential future breach of contract or misappropriation of trade

secrets action against a third-party to the current . . . action.”). Therefore, the Court adopts

Masterpiece’s position with respect to the appropriate definition of “Former OIA Employees,” to

include named defendants Marie Bovey, Lloyd Burke, Oliver Burke, Christophe Esayian,

Kimberly Komacki, Michael Lehnert, Raul Lucena, Mike Rizzo, and Todd Sweeney. 2

       If OIA develops a factual basis to believe that any other former employee has

misappropriated its confidential information, it may move to amend its complaint to name

additional defendants, and add those defendants to the list of relevant “Former OIA Employees.”

Similarly, if OIA develops a factual basis to believe that Masterpiece or any of its employees has

engaged in misappropriation or other misconduct, it may seek leave to amend its complaint, and

seek additional discovery.3

       B.      Request No. 1

       OIA requests “[a]ny and all Documents related to Masterpiece’s efforts to recruit or hire

any of the Former OIA Employees, including all email and other communications with such

persons prior to date they commenced employment with Masterpiece.” Masterpiece objects on

the ground that the request goes to the intent and actions of Masterpiece rather than any of the

named defendants, and there was nothing improper about Masterpiece recruiting OIA employees

in the absence of non-compete and non-solicitation agreements. Further, OIA specifically


       2By agreement, the resolution of this definition resolves the pending disputes relating to
Request Nos. 2-3.
       3  The Court understands that Masterpiece’s prior counsel agreed to a broader definition of
“Former OIA Employees,” which does not bind the Court. Of course, there are strategic
litigation benefits that may motivate a non-party’s cooperation, including avoiding being named
as a party.

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requested information related to any efforts by Masterpiece to seek OIA confidential information

from OIA employees in Request No. 4.

       The Court agrees with Masterpiece that information about Masterpiece’s general

recruitment efforts is not relevant nor proportional, and that any communications between

Masterpiece and the Former OIA Employees relating to OIA’s confidential information is

already captured by Request No. 4 (“Any and all documents that refer to or relate to

communications between Masterpiece, on the one hand, and Former OIA Employees, on the

other, seeking OIA Documents and Information or advising or warning these individuals not to

bring OIA Documents and Information with them.”). Therefore, the Court GRANTS

Masterpiece’s motion to quash this request.

       C.      Request No. 5

       OIA requests “[a]ny and all non-privileged communications between Masterpiece, on the

one hand, and Former OIA Employees, on the other, that refer to or relate to the allegations in

the Complaint.” Masterpiece objects on the ground that the request seeks irrelevant post-

complaint communications, and because the communications are available from the named

defendants.

       The Court agrees with OIA that this request seeks information relevant to the named

defendants’ alleged misappropriation of OIA’s confidential information. Further, the request is

narrowly tailored to the named defendants, and to communications that refer or relate to the

allegations in the Complaint, rather than all communications between Masterpiece and Former

OIA Employees. Although OIA has also sought this information from the named defendants,

Masterpiece is better positioned to capture the relevant universe of such communications

(including deleted communications), and not all of the named defendants are still employed by

Masterpiece and therefore do not have access to search Masterpiece’s email system. See Mowat
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Constr. Co. v. Dorena Hydro, LLC, No. 6:14-CV-00094-AA, 2015 WL 13867691, at *2 (D. Or.

May 18, 2015) (“The fact that [the defendant] could potentially obtain this information ‘via

discovery from the parties to the litigation, including [the plaintiff],’ does not excuse [the non-

party’s] compliance.” (citing Software Rights Archive, LLC v. Google Inc., Misc. No. 09-017-

JJF, 2009 WL 1438249, at *2 (D. Del. May 21, 2009))). For these reasons, the Court DENIES

Masterpiece’s motion to quash this request.

       D.      Request No. 6

       OIA requests “[a]ny and all documents that reflect or refer to communications among or

between Masterpiece personnel regarding utilizing Former OIA Employees to procure

information or clients from OIA.” Masterpiece objects on the ground s, inter alia, that the request

targets non-party Masterpiece’s intent and actions, rather than the named individual defendants,

and the request is overbroad because it targets any efforts to procure OIA clients and is not

limited to improper efforts to procure OIA clients. The Court agrees, and GRANTS the motion

to quash this request.

       E.      Request No. 7

       OIA originally requested “[a]ny and all documents that refer to, reflect, or relate to

communications between any of the OIA Former Employees, on the one hand, and any current

or former OIA clients, on the other hand, with which the specific OIA Former Employee worked

while at OIA.” During conferral, OIA modified its request to “[a]ny and all documents that refer

to, reflect, or relate to any attempt by Former OIA Employees to move work from OIA to

Masterpiece using OIA confidential or proprietary information, trade secrets, or stolen

information.” Masterpiece prefers the modified version, but continues to object on the ground

that OIA may request the same information from the named defendants.



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       The Court finds that Request No. 7, as modified, seeks relevant and proportional

information, that the scope of the discovery is appropriate for a non-party under these

circumstances, and that Masterpiece is better positioned to capture the relevant universe of such

communications. The Court therefore GRANTS Masterpiece’s motion to quash the original

request but orders Masterpiece to respond to the modified request.

       F.      Request No. 9

       OIA originally requested “[d]ocuments sufficient to identify all new Masterpiece

customers since January 1, 2020 through the present that were formerly OIA customers.” During

conferral, OIA modified its request: “[f]or all former OIA clients or customers which OIA

contends the Former OIA Employees wrongfully moved to Masterpiece, documents sufficient to

show whether those customers or clients are Masterpiece customers or clients, when they became

Masterpiece customers or clients, and the sales/services Masterpiece has provided” (and OIA

will provide this list of former OIA clients or customers to Masterpiece, subject to the protective

order). Masterpiece prefers the modified request, but argues that the request should be limited to

a list of OIA clients whose information is contained in any of the named defendants’ allegedly

misappropriated material.

       The Court finds that the request, as modified, seeks relevant and proportional information

and that its scope is appropriate for a non-party under these circumstances. The Court therefore

GRANTS Masterpiece’s motion to quash the original request, but orders Masterpiece to respond

to the modified request.

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                                        CONCLUSION

       For the reasons stated, the Court GRANTS IN PART and DENIES IN PART

Masterpiece’s renewed motion to quash (ECF No. 103). OIA and Masterpiece shall confer

regarding a mutually agreeable timetable for the production of the materials discussed herein.

       IT IS SO ORDERED.

       DATED this 5th day of July, 2022.


                                                    HON. STACIE F. BECKERMAN
                                                    United States Magistrate Judge




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